
We hereby suspend the provisions of Rule 39(g) and (h), Ala. R.App. P., allowing the respondent to file a brief, and we summarily grant the writ. See Ex parte Gardner, [Ms. 1030309, January 27, 2004] ___ So.2d ___ (Ala. 2004), and Court Comment of January 27, 2004, to Amendment to Rule 32.2, attached as an appendix to the opinion in Ex parte Gardner (a defendant whose triggering date for filing a Rule 32, Ala. R.Crim. P., petition occurs on or before July 31, 2001, has two years from the triggering date in which to file his or her petition).
Because the triggering date in Joseph Clifton Smith's case was March 16, 2001, his postconviction petition filed on September 27, 2002, was timely. We therefore reverse the judgment of the Court of Criminal Appeals and remand the cause for further proceedings consistent with this opinion and Ex parte Gardner.
WRIT GRANTED; REVERSED AND REMANDED.
HOUSTON, SEE, BROWN, JOHNSTONE, HARWOOD, WOODALL, and STUART, JJ., concur. *Page 287 